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                            Nos. 15-2272, 15-2294


        In the United States Court of Appeals
                for the Third Circuit
                       ____________________________
             IN RE NATIONAL FOOTBALL LEAGUE PLAYERS
                   CONCUSSION INJURY LITIGATION
                    _____________________________
                On Appeal from the United States District Court
                    for the Eastern District of Pennsylvania
                      ____________________________

           REPLY BRIEF OF APPELLANTS RAYMOND ARMSTRONG,
    LARRY BARNES, LARRY BROWN, DREW COLEMAN, KENNETH DAVIS,
   DENNIS DEVAUGHN, WILLIAM B. DUFF, KELVIN MACK EDWARDS, SR.,
PHILLIP E. EPPS, GREGORY EVANS, CHARLES L. HALEY, SR., ALVIN HARPER,
   MARY HUGHES, JAMES GARTH JAX, ERNEST JONES, MICHAEL KISELAK,
      DWAYNE LEVELS, DARRYL GERARD LEWIS, GARY WAYNE LEWIS,
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                                INTRODUCTION

      These appeals present the most difficult problem in the law of class actions:

When may a global settlement release both present- and future-injury claims?

Because of the fundamental divergence of interests between these two groups,

courts must ensure that the deal was not achieved at the expense of future

claimants—meaning, at a minimum, that those claimants had a truly independent,

uncompromised voice at the negotiating table.

      But throughout their nearly 200 pages of briefing, the settling parties act as if

the two most relevant precedents on this problem—Georgine v. Amchem Products, Inc.,

83 F.3d 610 (3d Cir. 1996), and Amchem Products, Inc. v. Windsor, 521 U.S. 591

(1997)—do not exist. They do so at their peril. Amchem’s core requirement of “fair

and adequate representation for the diverse groups,” id. at 627, may not be satisfied

with empty gestures, or limited to its “unique facts.” CC Br. 60. The same goes for

Judge Becker’s landmark opinion in Georgine, which zeroes in on the conflict of

interest that infects this settlement: “presently injured class representatives cannot

adequately represent the futures plaintiffs’ interests and vice versa.” 83 F.3d at 631.

      The parties’ failure goes well beyond their refusal to engage with precedent.

They also steadfastly refuse to answer the “basic questions” that courts “ask to

detect those cases settled” without adequately “protect[ing] the interests of the

absentees.” In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d



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768, 806 (3d Cir. 1995) (“GM Trucks”). It is these questions—not the Girsh factors—

that expose inadequate representation. We asked them in our opening brief (at 30–

31) and do so again:

   • Do the settlement terms reveal a “disparity between the
     currently injured and [future-injury] categories,” Amchem, 521
     U.S. at 626, such that the settlement “trad[es] the claims of the
     latter group away in order to enrich the former group,” GM
     Trucks, 55 F.3d at 797?

       The NFL, to its credit, does not deny the disparity at the heart of this deal; it

just says that “the line has to be drawn somewhere.” NFL Br. 76. But why was the

line drawn at precisely the point at which the present- and future-injury claimants’

interests diverge? The parties offer no good answers. If this were a discrimination

case, the parties would be defending a policy of disparate treatment, not disparate

impact. And their failure to provide a non-pretextual explanation would be fatal.

   •    “Have major causes of action or types of relief sought in the
       complaint been omitted by the settlement?” GM Trucks, 55 F.3d
       at 806.

       Nobody denies that this litigation has always been about CTE. And yet class

counsel—seeking to downplay the disparate treatment—now claim that the

settlement “is not designed to compensate CTE.” CC Br. 77. According to class

counsel, that is because of the scientific uncertainty surrounding CTE. But

scientific uncertainty is a reason to preserve, not extinguish, future claims—a central

lesson of Georgine and Amchem. It is precisely because of the “difficulty in forecasting


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what their futures hold” that future claimants, if they really had a voice at the table,

would have insisted on a deal that “keeps pace with scientific advances,” not one

that “freezes [the science] in place.” Georgine, 83 F.3d at 631.

   • Were there insufficient “structural protections to assure that
     differently situated plaintiffs negotiate[d] for their own unique
     interests,” Georgine, 83 F.3d at 631?

      Class counsel contend that the creation of “subclasses” provides the

necessary protections. But the parties have made no effort to actually prove that the

subclass counsel were truly independent. “Far too much turns on the adequacy of

representation to accept it on blind faith.” GM Trucks, 55 F.3d at 797. It is bad

enough that the futures subclass counsel (Arnold Levin) was drawn from, and

answerable to, the Plaintiffs’ Steering Committee. (If this were a separation-of-

powers case, would he be deemed independent of the committee?) But the problem

here is worse. Levin appears to have represented former players who asserted

present-injury claims, even as he had a fiduciary obligation to solely represent the

interests of players asserting only future claims. And Levin admitted to having a

one-third contingency stake in the recoveries of his current-injury clients. A.667.

No matter how you spin it, that is a disabling conflict of interest.

   • “Did the parties achieve the settlement after little or no
     discovery?” GM Trucks, 55 F.3d at 806.

       Class counsel do not dispute that they negotiated a global release of CTE

claims without requesting internal NFL documents about the risk of CTE (and that

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they did so before any of these claims had been litigated). That is inexcusable. Class

counsel’s only justification is an unexplained assertion (at 52) that “[t]his was not a

case where privately held information by the parties would ultimately tip the

litigation.” But how can they know without seeking discovery?

   • Is the settlement “accompanied by [the likelihood] of an
     enormous legal fee,” GM Trucks, 55 F.3d at 801?

      Despite this lack of discovery, the settlement entitles class counsel to seek

$112.5 million, a set-aside worth 5% of each class member’s recovery, and

additional (unknown) contingency fees (likely 33%). Yet, by withholding their fee

motion until after final approval, class counsel have withheld pertinent

information—such as whether Mr. Levin had a financial interest in current

claimants’ recoveries—that should have been disclosed in the motion. Class

counsel have provided no reason why this Court should “permit[] so irregular,

indeed unlawful, a procedure” in this case. Redman v. RadioShack Corp., 768 F.3d 622,

638 (7th Cir. 2014). That is because there is none. In this Circuit, “a thorough

judicial review of fee applications is required in all class action settlements.” GM

Trucks, 55 F.3d at 819–20. Because that did not happen here, the settlement must

be reversed for that reason as well.




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                                   ARGUMENT

I.      Because class counsel have not affirmatively demonstrated that
        the settlement’s terms and negotiation structure establish
        adequate representation, reversal is required.

        The central question in these appeals is whether class counsel provided the

necessary “structural assurance of fair and adequate representation.” Amchem, 521

U.S. at 627. Answering that question entails “a substantive inquiry into the terms

of the settlement,” as well as “a procedural inquiry into the negotiation process.”

GM Trucks, 55 F.3d at 785. Only by “hom[ing] in” on both substance and

procedure, as Judge Becker did in Georgine and GM Trucks, may this Court assure

itself that future claimants’ interests were really represented. Amchem, 521 U.S. at

619; see id. at 627.

        Ignoring that approach, the settling parties divorce substance and procedure.

They refuse to acknowledge that the settlement’s core substantive problem—its

disparate treatment of present and future claimants—matters to adequacy because

it is “evidence of prejudice to the interests of a subset of plaintiffs.” In re Literary

Works in Elec. Databases Copyright Litig., 654 F.3d 242, 252 (2d Cir. 2011). And the

parties refuse to provide evidence showing that the negotiation process that created

this disparity protected future claimants by ensuring that they had an

uncompromised, independent lawyer to vigorously advocate for their interests—

interests that are at odds with those of current claimants.



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      That is fatal to the settlement. Because “Rule 23 does not set forth a mere

pleading standard,” class counsel must “affirmatively demonstrate” that the

settlement class complies with the rule. Wal–Mart, Inc. v. Dukes, 131 S. Ct. 2541,

2550 (2011). They have not done so. They have not shown, through the structure

of the negotiations and terms of the settlement, that there was “in fact . . . adequacy

of representation, as required by Rule 23(a).” Comcast Corp. v. Behrend, 133 S. Ct.

1426, 1432 (2013).

      A.     Take the structure first. Class counsel offer only one reason why they

believe there were sufficient “structural protections” to ensure that current and

future claimants “negotiate[d] for their own unique interests.” Georgine, 83 F.3d at

631. They contend (at 35) that the “structural concerns” identified in Georgine and

Amchem are “directly addressed” by the fact that class counsel created separate

“subclasses” during the negotiation process and proposed “a separate

representative and counsel” for each group.

      But class counsel make no attempt to “actually prove” that each subclass was

in fact adequately represented, Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct.

2398, 2412 (2014)—that is, that each subclass actually had independent, “separate

representation to eliminate conflicting interests of counsel,” as Rule 23 requires,

Ortiz v. Fibreboard Corp., 527 U.S. 815, 856 (1999). Nor did class counsel make this

showing below. See Dkt. No. 6423-1, at 24–26; No. 6467, at 29–31. And the district



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court likewise failed to provide any analysis to support its statement (at A.93) that

“[e]ach Subclass has its own independent counsel”—much less the “rigorous

analysis” required by Wal–Mart, 131 S. Ct. at 2551.1

       These dual failures—class counsel’s failure to carry their burden of proving

adequacy, and the court’s failure to rigorously assess the independence of subclass

counsel—are reversible errors under binding precedent from this Court and the

Supreme Court. “Far too much turns on the adequacy of representation to accept

it on blind faith.” GM Trucks, 55 F.3d at 797. That is especially true in a class

settlement like this one, seeking to bind people “who may not develop compensable

injuries for years to come, if ever.” A.1117. In this context, Rule 23’s requirements

demand “heightened” attention, not dilution. Amchem, 521 U.S. at 620.

       Class counsel cannot make up for these shortcomings on appeal, and do not

even try to do so.2 Our opening brief (at 42–43) posed several questions to help


       1 Although class counsel (at 64 n.21) try to characterize the district court’s

statement of subclass counsel’s independence as a “finding[]” supported by “record
evidence,” whether class counsel have established adequacy is a legal question. And
the only “record evidence” class counsel identify are two declarations by the
mediator that do not in any way show subclass counsel’s independence. In any
event, “the participation of [an] impartial mediator” cannot “compensate for the
absence of independent representation.” In re Literary Works, 654 F.3d at 253.
        2 Instead, class counsel accuse the objectors (at 59–62) of “violat[ing] [their]

ethical obligations” by failing to discuss what class counsel call “this Court’s two
most relevant decisions” on adequacy: In re Cmty. Bank of N. Va. Mortg. Lending
Practices Litig., 795 F.3d 380 (3d Cir. 2015), and In re Diet Drugs Prods. Liab. Litig., 369
F.3d 293 (3d Cir. 2004). But Community Bank reaffirms that “fundamental” intra-
class conflicts (like the one here) are “serious enough to require separate counsel for

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determine whether counsel for the “futures” subclass, Arnold Levin, was actually

independent during negotiations. Class counsel offer no response. Far from

“affirmative[ly] demonstrat[ing]” that Mr. Levin was unconflicted throughout

negotiations, Wal–Mart, 131 S. Ct. at 2550, class counsel are unwilling even to

represent to this Court that he was unconflicted.

       Given this record, it is not hard to see why. When Levin was selected by class

counsel to represent all future-injury plaintiffs, he had a fiduciary obligation “to

represent solely” those plaintiffs. Georgine, 83 F.3d at 631; see also Juris v. Inamed Corp.,

685 F.3d 1294, 1323 (11th Cir. 2012). Just as “presently injured class

representatives cannot adequately represent the futures plaintiffs’ interests and vice

versa,” Georgine, 83 F.3d at 631, a lawyer cannot adequately represent plaintiffs in

both of these “mutually exclusive camps,” In re Literary Works, 654 F.3d at 251.

       Yet that appears to be exactly what Levin did. The record shows that he

represents class members who have asserted present claims based on present

each subclass.” 795 F.3d at 393–94. And Diet Dugs is neither “squarely on point”
nor “controlling.” CC Br. 37. The decision class counsel cite addresses the Anti-
Injunction Act, Younger abstention, and the settlement’s punitive damages provision.
369 F.3d at 303–05. It does not mention Rule 23. To the extent class counsel
meant to cite the district court’s earlier unpublished decision, that too is off-point.
In re Diet Drugs, No. 1203, 99–20593, 2000 WL 1222042 (E.D. Pa. Aug. 28, 2000).
The district court explained that there was no “futures” problem there, and class
members whose existing injuries might progress over time were afforded substantial
“structural protections,” including “meaningful” back-end opt-out rights. Id. at *46,
*49; see also In re Diet Drugs, 282 F.3d 220, 231 (3d Cir. 2002) (upholding district
court’s findings that “there were no trade-offs between the classes” and “no conflict
between those seeking future benefits and those seeking them immediately”).

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injuries. He is counsel of record in two cases brought by nine plaintiffs, and his law

partner is counsel of record in a third case brought by eleven plaintiffs. A.667. For

the Court’s convenience, we are providing copies of the complaints in these cases,

all of which were consolidated in this case, along with a motion for judicial notice.

See Mot. for Judicial Notice, Exs. A–C; see also Dkt. No. 2480 (Shoals short-form

complaint), 2484 (Henesey short-form complaint). Mr. Levin’s clients in these cases

alleged a variety of present neurocognitive injuries, “including but not limited to

Dysphasia, problems with retrieving words and organizing speech, difficulty with

mental organization, memory dysfunction,” and other “cognitive problems.” See,

e.g., Mot. for Judicial Notice, Ex. C, at 21-26. And Levin disclosed in his

application for appointment to the Plaintiffs’ Steering Committee that he “has

agreed to fees in these cases on a 1/3 contingency fee.” A.667.

      We do not know for sure whether Levin continues to represent these clients,

or whether he retains a financial interest in their cases, because class counsel have

refused to file their fee petition (an independent ground for reversal, as discussed in

Part II). But Levin has not notified the district court that he has withdrawn from his

representation of these individuals, at least not to our knowledge, nor has he

relinquished his financial stake in their recoveries. And even if he had done so, class

counsel have not produced any evidence showing that he obtained the necessary

informed consent from each individual to undertake an adverse representation.



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Absent such evidence, this conflict disqualifies Mr. Levin under Georgine. A lawyer

cannot simultaneously represent people with current injuries, asserting current

claims, while purporting to represent a class of people with no current injuries,

asserting only future claims.3

      The depth of this conflict is illustrated by the fact that subclass counsel for

the current-injury plaintiffs, Dianne Nast, also represents a client (class member

Andrew Glover) who alleged the same injuries as Levin’s clients—and in fact was

one of Levin’s clients, and may still be one of his clients. See Mot. for Judicial Notice,

Ex. A, at 21–22 (complaint filed by Levin alleging that Glover and other plaintiffs

have “suffered memory loss and headaches”); Ex. D, at 4 (complaint filed by Nast

alleging that “Glover suffers from memory loss, depressions, motor skill impairment,

and sleep loss”); see also Dkt. No. 587 (Glover short-form complaint). Although

Glover voluntarily dismissed his claim in the action brought by Levin, class counsel

have provided no evidence showing that Levin has extinguished his attorney-client

relationship and fee agreement with Glover, let alone evidence that Glover

provided informed consent sufficient to allow Levin to represent class members

with adverse interests. See In re Sw. Airlines Voucher Litig., — F.3d —, 2015 WL



      3 To the extent that Levin might later seek to disavow his financial stake in

the claims of currently injured plaintiffs, or that he disavowed his stake at some
point after the negotiations were complete, that disavowal cannot cure a conflict
that existed when the substance of the deal was being negotiated.

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4939676, *12–13 (7th Cir. Aug. 20, 2015).4 Quite the contrary: By taking the

extraordinary step of withholding their fee petition until after the settlement is

approved and appeals are exhausted, class counsel have thwarted this Court’s

ability to review evidence bearing on potential conflicts in determining adequacy.

      Even if class counsel could prove that Levin and Nast were unconflicted

during the negotiation process, class counsel still could not establish adequacy

under Rule 23(a)(4). That is true for at least three reasons. First, as we explained in

our opening brief (at 40–42), there is no evidence showing that Levin was actually

independent from the Plaintiffs’ Steering Committee of which he was a part.

Because he was handpicked by class counsel without court oversight, there is no

reason to think that he could not have also been removed by class counsel during

the negotiation process if he were to threaten the deal by insisting on any of the

protections that a rational future claimant would want: (1) equal compensation for


      4 It   is theoretically possible, of course, that Levin withdrew from his
representation, disclaimed his financial interest, and obtained informed consent at
the very moment he was selected to represent future-injury plaintiffs. It is also
theoretically possible that none of his clients currently have qualifying diagnoses,
even though they have asserted present claims. But class counsel has not even
attempted to establish that this is so, and it seems particularly unlikely here: If the
interests of Levin’s clients were actually aligned with the interests of future-injury
class members (rather than currently injured members), why didn’t he select one of
those clients to serve as subclass representative after Corey Swinson died, instead of
conducting a month-long search to find a replacement? And how, in any event,
could Ms. Nast—who had a fiduciary obligation to represent only current
claimants—also represent Glover if he had not obtained a qualifying diagnosis by
the time Nast was selected as “subclass” counsel?

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CTE, rather than “no monetary award at all,” Georgine, 83 F.3d at 630; (2) a deal

that “keep[s] pace with changing science and medicine, rather than freezing in

place the science,” id. at 631; and (3) “sturdy back-end opt-out rights,” rather than

binding future claimants before they have the necessary information to make an

informed decision. Amchem, 521 U.S. at 610.

      Second, the sole class representative for the future-injury subclass, Shawn

Wooden, played no part in the negotiations and came in only after it was clear that

he would support the deal as it stood. A.3824, 3902. Like Levin, Wooden did not

insist on future CTE compensation or a deal that takes account of future scientific

developments, nor did he insist on back-end opt-out rights. To the contrary,

Wooden expressly omitted his CTE-related future claims—a clear sign of

inadequacy. See Opening Br. 43–44. Class counsel’s only response (at 64) is to hide

behind the district court’s determination (which they characterize as a “finding[]”)

that Wooden adequately raised an implicit CTE claim, even though he did not

mention CTE by name and did not seek compensation for it. But that does not

undermine our point; it is an indicator of inadequacy.5


      5 Class counsel also mischaracterizes our argument (at 63–70) as a “demand

for a subclass for CTE,” akin to “requir[ing] dozens (and perhaps hundreds) of
subclasses.” Nonsense. Although amicus curiae Public Citizen has sensibly called for
an approach that would eliminate potential intra-class allocative conflicts by
requiring a modest number of subclasses to represent people with different diseases,
see also In re Literary Works, 654 F.3d at 249–57, that is not our argument. Our
argument is that Wooden’s failure to seek compensation for future CTE—while

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      Finally, if more confirmation of inadequacy were needed, a declaration

submitted by co-lead counsel Christopher Seeger makes clear that class counsel did

not “designate[]” Levin and Nast as subclass counsel until “after [a negotiation]

structure was agreed to” that defined each “qualifying injury”—including the

exclusion of future CTE claims and recovery for mood and behavioral symptoms

associated with CTE. A.3578 (emphasis added).6 In other words, class counsel did

not create the proposed “subclasses” until after the key substantive disparity

between current and future claimants had already been negotiated by conflicted

class counsel. This only confirms what was already clear: The creation of separate

“subclasses” was a device to circumvent Georgine and Amchem, not a meaningful

attempt to comply with them.

      B. These “structural flaw[s]” would preclude a finding of adequacy here

“[e]ven in the absence of any evidence that the Settlement disfavors [future-

injury]-only plaintiffs.” In re Literary Works, 654 F.3d at 253. But there is no absence

of evidence. “[T]he Settlement itself contains terms that illustrate a lack of

adequate representation of [future-injury]-only plaintiffs.” Id.


waiving all future claims for CTE—further demonstrates the inadequacy of
representation of future-injury plaintiffs that lies at the heart of this appeal.
       6 Perhaps this is not surprising. Were it otherwise, Levin and Nast would

have been subclass counsel before the proposed subclass definitions had even been
established, meaning that they could not have known whose precise interests they
were purporting to represent during negotiations, and thus could not have
adequately represented those interests and guarded against a potential conflict.

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      The most “conspicuous evidence” of inadequacy is the settlement’s disparate

treatment of CTE—the disease that prompted this litigation in the first place. GM

Trucks, 55 F.3d at 797. Under the settlement’s terms, if a class member died with

CTE before April 22, 2015, his estate will receive up to $4 million. But if a class

member dies after April 22, 2015, his estate will “get no monetary award at all.”

Georgine, 83 F.3d at 630. And the settlement forces future claimants to release all

“claims relating to CTE,” A.77—a release that the NFL says (at 76) is “a critical

component of any settlement” because of the tremendous value of those claims.

      What justifies this disparity? The NFL’s answer (at 75) is the “comprehensive

benefits of the settlement agreement, including the [Baseline Assessment Program]”

and the potential future compensation for other qualifying diagnoses, such as

dementia. But baseline testing and the possibility of a smaller award in the future

are not substitutes for millions of dollars in CTE compensation. If they were, the

NFL would not have refused to pay future CTE claims.

      Although the NFL hypothesizes (at 69) that “the financial benefits provided

by the settlement may,” in some rare instances, “prove more substantial than those

provided for Death with CTE,” the one example the NFL gives shows otherwise. It

identifies one class member whose spouse (former Pittsburgh Steelers lineman

Ralph Wenzel) was “allegedly diagnosed with early dementia 13 years prior” to his

death at age 69 in 2012, at which point he was diagnosed with CTE. NFL Br. 69.



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Because of his CTE diagnosis, the NFL says he is eligible to receive up to $828,000

in compensation. But if he had died without a CTE diagnosis, he might not be

eligible to receive any award. And if he had died with CTE after final approval, or if

he were still living, he would be eligible to receive an award of at most $210,000

(roughly one quarter of the value of his CTE claim). A.5741. In other words, it is

his current CTE claim that is responsible for the increased award—nothing else.

      Unable to justify the disparity, the NFL candidly admits (at 76) that “the line

has to be drawn somewhere and a logical place to draw a line” is to “distinguish[]

between prospective and retrospective benefits.” That is precisely our point.

Drawing a line at the “most salient conflict” in this case—providing a lucrative

benefit to current claimants, but not future claimants—does not somehow

demonstrate adequacy; it confirms inadequacy. Georgine, 83 F.3d at 630.

      Class counsel’s attempts fare no better. After asserting that the settlement’s

“omission” of future CTE claims was “deliberate,” counsel explain how they

“fought hard in the negotiations to make sure that [those class members with

current CTE claims] would be compensated.” CC Br. 77, 85. And indeed they did.

That is why current CTE claimants can receive up to $4 million in compensation.

The problem, however, is that counsel did not fight equally hard to obtain any

compensation for future CTE claims, despite their value.




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      Class counsel provide no justification for this disparity beyond what the

district court said in its opinion: that compensating current CTE claims is not the

result of an intra-class conflict, but is intended only to serve as a proxy for

compensating qualifying diagnoses that class members could not have obtained

while living. See id. at 77–80, 84–86. Our opening brief (at 32–36) explains the

many flaws in that justification, and class counsel have no response. They seize on

the same example given by the NFL, see id. at 85–86, but ignore the fact that the

settlement treats Wenzel differently because he was diagnosed with CTE and died

before final approval. Had that not been the case, his compensation would be far

less (and perhaps nothing). The additional amount he receives is not a “proxy” for

anything—it is compensation for CTE.

      The settlement’s facial discrimination against future claimants with respect

to CTE is not the only substantive indicator that those claimants were inadequately

represented. The settlement also fails to include any assurance that the deal will

“keep pace with changing science and medicine,” including developments in the

scientific understanding of CTE, as future claimants would naturally “desire.”

Georgine, 83 F.3d at 631. Class counsel claim that they did seek such assurance

because “that can hardly be a meaningful position for the more than 5,200 players

who filed suit in the here and now.” CC Br. 47. “Reality,” they say, “dictates that




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the science be viewed as it stands today.” Id. at 83. But the only “reality” that

dictates that result is the intra-class conflict identified in Georgine and Amchem.

       Class counsel ask this Court to overlook that conflict because absent class

members had the right to opt out of the class. Id. But class members can always opt

out of a class before final approval. If that were enough to overcome inadequacy,

Georgine and Amchem would have been decided differently. The same is true of class

counsel’s related argument that class members’ “silence” signals “overwhelming

support” for this deal. CC Br. 42, 98. As Judge Becker explained, future-injury

class members often “lack adequate information to properly evaluate whether to

opt out of the settlement” because of “the difficultly in forecasting what their

futures hold.” Georgine, 83 F.3d at 633. That difficulty is compounded in this case

because of the difficulty of predicting how the CTE science will evolve and whether

further evidence (like the kind that might have been obtained had there been

discovery) will strengthen the link between brain injuries and pro football.

       That is why future-injury class members—given the potential value of their

claims and their “substantial stake in making individual decisions on whether and

when to settle”—“would also seek sturdy back-end opt-out rights.” Amchem, 521

U.S. at 610, 616. But that too did not happen here—yet another substantive

indicator of inadequacy. Class counsel do not say why they did not seek back-end

opt-out rights, but this Court has already provided the answer: because current



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claimants’ interests (to say nothing of the lawyers’ interests) “are against such an opt

out as the more people locked into the settlement, the more likely it is to survive.”

Georgine, 83 F.3d at 631.

II.   The settlement’s unlawful fee-deferral procedure deprives this
      Court of a critical tool for assessing the adequacy of class
      counsel’s representation of the future-injury claimants,
      independently warranting reversal.

      Our opening brief (at 46–54) raised an independent ground for reversal: this

settlement’s unusual fee-deferral procedure, under which class counsel have refused

to file a fee motion until after final approval (and, presumably, until after this Court

rules). As our opening brief explained (at 54), counsel are obliged to disclose in

their fee motion all terms and understandings underlying the fee arrangements,

including any “side agreements” between counsel and class members. Deferring

submission of the fee motion thus deprives class members and the Court of

information essential to a thorough evaluation of the settlement. Yet class counsel

offer “no excuse for permitting so irregular, indeed unlawful, a procedure,” Redman,

768 F.3d at 638, let alone any authority to support it.

      Despite the lack of discovery or litigation beyond a motion to dismiss, the

settlement entitles class counsel to seek up to $112.5 million in uncontested

attorneys’ fees—the equivalent of roughly 187,500 hours (or 21.4 years) of time—

plus a set-aside worth up to 5% of the benefits paid to each class member, A.5671,

plus additional unknown, substantial contingency-fee payments, A.1553. Yet the


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deferral procedure hides basic information that goes to the heart of counsel’s

adequacy, and thus the settlement’s fairness, including:

   • Do the fee arrangements indicate that class or futures subclass counsel will
     seek fees for previously representing present-injury claimants?

   • To what extent does futures subclass counsel’s entitlement to contingency fee
     payments for representing present claimants constitute a conflict of interest?

   • How much will futures subclass counsel receive in total fees and on what
     basis?

   • How much will class counsel receive in side contingency fees?

   • How much time did class counsel spend investigating and litigating the case?

   • How will the 5% set-aside for “facilitating the settlement program and Class
     Counsel’s efforts in connection with it” be spent? CC Br. 93.

      Class counsel give no good reason why this Court should approve the

proposed settlement with these questions unanswered—all as a direct result of the

fee-deferral procedure. Not only is that procedure unjustified and unexplained; it

also lacks legal support. Stating in a footnote that “[n]umerous courts have

bifurcated final approval and adjudicated of fees,” class counsel cite just three

district court decisions. CC Br. 94 n.30. But in two of those cases, the fee motion

was filed before final approval of the settlement, thus permitting the court to assess

the proposed settlement and the fee application together. See Tennille v. W. Union Co.,

No. 09-cv-00938, 2014 WL 5394624, at *1 (D. Colo. Oct. 15, 2014); In re Ins.

Brokerage Antitrust Litig., No. 04-5184, 2007 WL 1652303, at *2 (D.N.J. June 5, 2007).


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And in the third—class counsel’s lone example of anything resembling what

occurred here—Judge Barbier appears to have approved a similarly unusual

procedure in the BP oil spill litigation, but that procedure went unchallenged in

(and was not passed on by) the Fifth Circuit. See In re Deepwater Horizon, 739 F.3d

790 (5th Cir. 2014).7

      Conversely, the Seventh Circuit has held that “fil[ing] the attorneys’ fee

motion . . . after the deadline set by the court for objections to the settlement had

expired” is “unlawful.” Redman, 768 F.3d at 637–38. Were a court to excuse such a

delay, Judge Posner explained, it would “handicap” objectors to the settlement

“because the details of class counsel’s hours and expenses” would only be

“submitted later,” depriving objectors of “all the information they needed to justify

their objections.” Id. Counsel describe our reliance on Redman as “bizarre” and

“frivolous,” CC Br. 94 n.31, but cannot articulate (aside from irrelevant factual

distinctions) why this Court should reject Redman’s reasoning and create a direct

conflict with the Seventh Circuit.



      7 Citing the advisory committee’s note, class counsel suggest that Rule 23(h)

reflects no preference for simultaneous adjudication of the fee motion and
settlement. But class counsel ignore other language in the same note that stresses
the importance of “requir[ing] the filing of at least the initial [fee] motion in time”
for the class to evaluate that information as part of the proposed settlement. Fed. R.
Civ. P. 23(h)(1), 2003 advisory committee note; see also Newberg on Class Actions § 8.24
(5th ed.) (noting that Rule 23 envisions “linking together settlement notice and
objections with fee notices and objections”).

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      Rather than attempt to justify the unusual procedure here, class counsel

evade the issue. Counsel assure this Court that class members will “be afforded an

opportunity to object” the fee request “in due course.” Id. at 94. But that misses the

point. Counsel do not deny that, as a result of the deferral, class members will be

deprived of the opportunity to object to the settlement based on information that

would be revealed in a fee motion. And although class counsel argues that “any

ultimate fee award does not lessen the class recovery,” id. at 95, that cannot justify

refusing to file a motion until after approval; in GM Trucks, this Court reversed the

district court’s “initial refusal to review” a fee motion based on this same rationale.

55 F.3d at 819–20. Counsel, however, say not a word about that precedent.8

      Nor do class counsel deny that the fees are effectively insulated from judicial

review, violating this Circuit’s command in GM Trucks that “a thorough judicial

review of fee applications is required in all class action settlements.” Id. (emphasis

added). If the settlement is approved, class members will no longer have any


      8 Class counsel’s assertion that “there was no discussion of fees until after the

parties had agreed to the merits of the settlement,” CC Br. 92, is not only legally
irrelevant under GM Trucks, but also factually inaccurate. To be sure, the total cap
on class benefits (later eliminated by the district court) was fixed at the time the
term sheet was announced, after which class counsel commenced fee negotiations.
A.88, A.956. But the parties’ negotiation over the amount of the benefits for each
qualifying injury—and thus the amount the NFL would ultimately have to pay to
the class—continued for the next four months, a period during which class
counsel’s fee negotiations also took place. A.3586–87 (explaining that both the fees
and the “monetary award grid” were negotiated after the term sheet was signed
and made public on August 29, 2013).

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incentive to challenge the fee petition because it could not affect their recoveries.

The settling parties could also argue that class members lack standing to appeal, see

Armstrong Br. 51, an issue counsel leave unaddressed. Moreover, the settlement

agreement’s “clear-sailing” clause—which “weigh[s] substantially against the

fairness of a settlement” and calls for “intense critical scrutiny,” id. at 50—bars the

NFL from ever challenging class counsel’s fees.

       Finally, counsel do not deny that the settlement permits the enforcement of

contingency fees arising out of retainer agreements with class members. A.1553.

This compensation source represents a significant conflict of interest because it

creates an incentive to maximize recoveries for present claimants (with whom class

counsel had existing agreements) at the expense of future claimants’ recoveries. As

noted, the futures subclass counsel himself, Arnold Levin, had such a contingency-

fee arrangement with several individual class members, A.667, the details of which

would further highlight the fact that Levin’s interest in obtaining greater recovery

for his clients compromised his purported independence as subclass counsel. See

Ortiz, 527 U.S. at 852–53. Of course, without a fee motion, we cannot know the

details. Because class counsel’s failure to file the motion prevents a complete

inquiry into whether future-injury claimants were adequately represented, the

district court’s final approval should be reversed.




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                                CONCLUSION

     The district court’s approval of the settlement should be reversed.

                                            Respectfully submitted,

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October 7, 2015                                  Deepak Gupta




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